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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 11

YELLOW CORPORATION, et al.1                                 Case No. 23-11069 (CTG)

           Debtors.                                         (Jointly Administered)



     ORDER GRANTING MOTION OF AARON MISQUEZ FOR RELIEF FROM THE
    AUTOMATIC STAY PURSUANT TO SECTION 362(d) OF THE BANKRUPTCY CODE

           Upon consideration of Aaron Misquez’s (“Movant”)2 Motion of Aaron Misquez for Relief

from the Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code (the “Motion)”, it is

hereby ORDERED that:

           1.       The Motion is GRANTED.

           2.       Movant is granted relief from the Automatic Stay and is permitted to proceed with

and prosecute the State Court Action (San Bernardino Superior Court Case No. CIVSB2206594)

against Debtors and any other individuals or entities, including any subsequent appeals, and may

enforce any judgment, including any alternative dispute resolution award of settlement obtained

in the State Court Action against Debtors and/or Debtor’s applicable insurance.3



1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.
2
    Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.
3
 Movant has expressly reserved rights to pursue the Debtors through the claims reconciliation process for any
outstanding balance not satisfied by the applicable insurance.
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       3.      The Order shall become effective immediately upon entry by the Court and is not

subject to the fourteen-day stay provided in Rule 4001(a)(3) of the Federal Rules of Bankruptcy

Procedure.

       4.      This Court shall retain jurisdiction over any and all issues arising from or related to

the implementation and interpretation of this Order.



    Dated: ____________________                        ___________________________________
                                                        U.S. Bankruptcy Judge, Craig T. Goldblatt




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